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 4

 5 Attorney for:
   Rigoberto Nunez
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                             CASE NO. 2:17-CR-00149 TLN
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                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           FINDINGS AND ORDER TO CONTINUE CASE
12                                                         TO 2/21/19 AT 9:30 A.M.
     RIGOBERTO NUNEZ,
13   OSCAR ANDRADE,
     OSCAR RODRIGUEZ,
14                                    Defendants

15
                                                     STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, James Conolly, and
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     Defendants Rigoberto Nunez, represented by Attorney Preciliano Martinez, Defendant Oscar Andrade
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     represented by Attorney Dina Santos; Defendant Oscar Rodriguez, represented by David Fischer, hereby
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     stipulate as follows:
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            1.      By previous order, this matter was set for status on September 20, 2018.
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            2.      By this stipulation, defendants now move to continue the status conference until February
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     21, 2019, and to exclude time between September 20, 2018, and February 21, 2019, under Local Code
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     T4. Plaintiff does not oppose this request. The Defense continues to conduct investigation, review
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     discovery and negotiate with the Government.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants desire additional time to continue to conduct
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            investigation, and to otherwise prepare for trial. Counsel for defendants believe that failure to
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      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
                 Case 2:17-cr-00149-TLN Document 58 Filed 09/19/18 Page 2 of 3


 1          grant the above-requested continuance would deny them the reasonable time necessary for

 2          effective preparation, taking into account the exercise of due diligence. The government does

 3          not object to the continuance.

 4                  b)       Based on the above-stated findings, the ends of justice served by continuing the

 5          case as requested outweigh the interest of the public and the defendant in a trial within the

 6          original date prescribed by the Speedy Trial Act.

 7                  c)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8          et seq., within which trial must commence, the time period of September 20, 2018, and February

 9          21, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

10          Code T4] because it results from a continuance granted by the Court at defendants request on the

11          basis of the Court’s finding that the ends of justice served by taking such action outweigh the

12          best interest of the public and the defendants in a speedy trial.

13          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

14 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

15 must commence.

16          IT IS SO STIPULATED.

17 Dated: September 18, 2018                                   MCGREGOR SCOTT
                                                               United States Attorney
18

19                                                             /s/ James Conolly
                                                               JAMES CONOLLY
20                                                             Assistant United States Attorney

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22 Dated: September 18, 2018                               /s/ Preciliano Martinez
                                                           PRECILIANO MARTINEZ, ESQ.
23                                                         Attorney for Rigoberto Nunez
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     Dated: September 18, 2018                             /s/ Dina L. Santos
25                                                         DINA L. SANTOS, ESQ.
                                                           Attorney for Oscar Andrade
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      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
              Case 2:17-cr-00149-TLN Document 58 Filed 09/19/18 Page 3 of 3


 1 Dated: September 18, 2018                                /s/ David Fischer
                                                            DAVID FISCHER, ESQ.
 2                                                          Attorney for Oscar Rodriguez
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 5                                                        ORDER

 6         IT IS SO FOUND AND ORDERED this 18th day of September, 2018.

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                                                                  Troy L. Nunley
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                                                                  United States District Judge
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     Stip. & [Proposed] Order Continuing Status Conf. &     3
     Excluding Time Periods Under Speedy Trial Act
